Case 18-50891-jwc   Doc 21   Filed 04/24/18 Entered 04/24/18 14:35:21    Desc Main
                             Document      Page 1 of 5




  IT IS ORDERED as set forth below:



  Date: April 24, 2018

                                                       _____________________________________
                                                                  Lisa Ritchey Craig
                                                             U.S. Bankruptcy Court Judge

 _______________________________________________________________
Case 18-50891-jwc   Doc 21   Filed 04/24/18 Entered 04/24/18 14:35:21   Desc Main
                             Document      Page 2 of 5
Case 18-50891-jwc   Doc 21   Filed 04/24/18 Entered 04/24/18 14:35:21   Desc Main
                             Document      Page 3 of 5
Case 18-50891-jwc   Doc 21   Filed 04/24/18 Entered 04/24/18 14:35:21   Desc Main
                             Document      Page 4 of 5
Case 18-50891-jwc   Doc 21   Filed 04/24/18 Entered 04/24/18 14:35:21   Desc Main
                             Document      Page 5 of 5
